     Case 7:21-cv-02777-VB Document 13-6 Filed 06/11/21 Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT NEW YORK


CHARON COINS, LLC,

            Plaintiff,
    v.
                                    Civil Action No. 7:21-cv-2777
SONEA GRIFFITHS,

            Defendant.


                MEMORANDUM OF LAW IN SUPPORT OF
            PLAINTIFF’S MOTION TO ATTACH DEFENDANT’S
         BANK ACCOUNTS OR FOR A PRELIMINARY INJUNCTION

                            EXHIBIT E
           Case 7:21-cv-02777-VB Document 13-6 Filed 06/11/21 Page 2 of 3


From:            Steve Oster
To:              Jackson Kerr
Cc:              Lewis Tesser
Subject:         Re: Charon Coins, LLC v. Sonea Griffiths - 21-cv-02777 - Adjournment
Date:            Tuesday, May 11, 2021 11:08:43 AM


Hi Jackson,

Ordinarily, I would gladly extend the courtesy. I need to discuss with the plaintiff.

Given the underlying facts, we are concerned about secretion of funds. If your client will
agree not to move any funds (crypto or otherwise), we can probably work it out.

This case is pretty straightforward: Ms. Griffiths purchased goods from my client. She
currently has the goods and the purchase price. We are willing to rescind or accept
performance.

Is there a time we can discuss?

Thank you.
Regards,
Steven M. Oster, Esq.
OSTER MCBRIDE PLLC
1320 19th St. NW, Suite 601
Washington, DC 20036
Office: 202.596.5291 Fax: 202.747.5862
Cell: 703.577.8785
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From: Jackson Kerr <jkerr@tesserryan.com>
Sent: Tuesday, May 11, 2021 10:22:12 AM
To: Steve Oster <soster@ostermcbride.com>
Cc: Lewis Tesser <LTesser@tesserryan.com>
Subject: Charon Coins, LLC v. Sonea Griffiths - 21-cv-02777 - Adjournment

HI Steve,

I just left a voicemail on your cell phone. As I explained in the voicemail, Tesser Ryan has been
retained by Ms. Griffith to review the complaint filed by Charon Coins, LLC and provide an
analysis of her options moving forward. We have not been retained to appear in the lawsuit.

In order for us to have time to perform our due diligence and provide Ms. Griffiths with the
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proper analysis, we would ask for an adjournment of her time to answer for 30 days. If this
alright with you, please let me know, and I can put a stip together to be signed and filed.

Please feel free to reach out if you have any questions or concerns.

Best,
Jackson

Jackson Kerr
Pending Admission to New York State Bar
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